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                                                     21-mj-2670-OTAZO-REYES
Case 1:21-mj-02670-AOR               Entered on FLSD Docket 04/07/2021 Page 1 of 1

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                             ANGELA E.NOBLE
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                            s.D.oFFLA.-MIAMI
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                                                          M arch 24,2021


       LydiaE.Arvelo




       M s.Arvelo:

              Thislétteristonotifyyouthatyouareatargetofafederalgrandjuryinvestigationinthe
       Southern D istrict of Florida inkolving possible violations of federal crim inal law . This
       investigation hw olves,butisnotlim ited to,offenses relating to various health care fraud, wire
       fraud,and Anti-K ickback Statuteviolations.

              Ifyou have retained counsel,please havehim orhercontactm e regarding thism atter. lf
  '
      'you havenot;lurge you to do'so,and to ask yourattorney to contactm e regarding thism atter.

              lfyou are unable to afford counsel,you m ay,under certain circum stances, be entitled to
       court-appointed counsel at no cost. If this is the case,l encourage you to contact m e atthe
  .
       telephonenllmberaboveforthelimitedpurposeofarrangingahearingbeforeajudicialofficerto
       inquire into youreligibility to have counselappointed atno costto you.


                                                          Sincerely,

                                                          A RJA NA FAJARD O ORSI'IAN
                                                          UNITED STATES ATTORN EY


                                                   By:
                                                          M ichaelB .Hom er
                                                          A ssistantUnited StatesAttom ey
